Case 2:16-cv-08085-SVW-MRW_ Document 47 Filed 12/22/17 Page1of5 Page ID #:556

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-08085-SVW-MRW Date December 22, 2017

 

Title Jennifer Botelho v. Technological Medical Advancements LLC

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

Paul M. Cruz N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION [41]

I. INTRODUCTION

Plaintiff Jennifer Botelho, who conducts business as the Chiropractic Center of Los Angeles, filed
this putative class action on October 31, 2016, alleging that Defendant Technological Medical
Advancements L.L.C. sent unsolicited fax advertisements in violation of the Telephone Consumer
Protection Act (““TCPA”), 47 U.S.C. 227. Dkt. No.1.

Pending before the Court is Plaintiffs’ motion for certification of the following nationwide
class: “[a]ll persons in the United States who, (1) from October 31, 2012 through the
present, (2) were sent an unsolicited telephone facsimile message from Defendant
substantially similar to the faxes sent to Plaintiff ... (3) where Defendant acquired the
recipient’s fax number from the Stack Creations “Contact List”, (4) and where the faxes
were sent using the same equipment that was used to transmit the faxes to Plaintiff.”

Dkt. No. 41. The Court has carefully considered the arguments presented by the and the Court
DENIES Plaintiffs motion for class certification.

II. CLASS CERTIFICATION STANDARD

Federal Rule of Civil Procedure 23 governs class actions, including class certification. A plaintiff
“bears the burden of demonstrating that she has met each of the four requirements of Rule 23(a) and at
least one of the requirements of Rule 23(b).” Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186
(9th Cir.); see also Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011) (“A party seeking class
certification must affirmatively demonstrate [her] compliance with the Rule.”).

 

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CIVIL MINUTES - GENERAL Page 1 of 5
Case 2:16-cv-08085-SVW-MRW_ Document 47 Filed 12/22/17 Page 2of5 Page ID #:557

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Umder Rule 23(a), a district court may certify a class only if: “(1) the class is so numerous that
joinder of all members is impracticable; (2) there are questions of law or fact common to the class; (3) the
claims or defenses of the representative parties are typical of the claims or defenses of the class; and (4)
the representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a).
That is, the class must satisfy the requirements of numerosity, commonality, typicality, and adequacy of
representation to maintain a class action. Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir.
2012).

If the four prerequisites of Rule 23(a) are met, a court also must find that the plaintiff “satisfies]
through evidentiary proof” one of Rule 23(b)’s subsections. Comcast Corp. v. Behrend, 133 S. Ct. 1426,
1432 (2013). Plaintiff asserts that she can meet the requirements of both Rule 23(b)(2) and 23(b)(3). Rule
23(b)(2) provides for certification where “the party opposing the class has acted or refused to act on
grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory relief
is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). Rule 23(b)(3) applies where there
is predominance and superiority. Under Rule 23(b)(3), the Plaintiff must show that “questions of law or
fact common to class members predominate over any questions affecting only individual members, and ..

a class action is superior to other available methods for fairly and efficiently adjudicating the
controversy.” Fed. R. Civ. P. 23(b)(3). Even if Plaintiff could meet the requirements of Rule 23(a),
Plaintiff cannot meet the requirements of any portion of Rule 23(b).

Il. DISCUSSION

The Complaint alleges that Defendants violated the TCPA by sending unsolicited fax
advertisements about its Diowave laser to medical professionals. The TCPA provides that “it shall be
unlawful for any person: . . . (C) to use any telephone facsimile machine, computer, or other device to
send, to a telephone facsimile machine, an unsolicited advertisement, unless—

(i) the unsolicited advertisement is from a sender with an established business relationship
with the recipient;

(11) the sender obtained the number of the telephone facsimile machine through—
(1) the voluntary communication of such number, within the context of such
established business relationship, from the recipient of the unsolicited

advertisement, or

(II) a directory, advertisement, or site on the Internet to which the recipient
voluntarily agreed to make available its facsimile number for public distribution,

 

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CIVIL MINUTES - GENERAL Page 2 of 5
Case 2:16-cv-08085-SVW-MRW_ Document 47 Filed 12/22/17 Page 3of5 Page ID #:558

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-08085-SVW-MRW Date December 22, 2017

 

Title Jennifer Botelho v. Technological Medical Advancements LLC

 

except that this clause shall not apply in the case of an unsolicited advertisement
that is sent based on an established business relationship with the recipient that was
in existence before July 9, 2005, if the sender possessed the facsimile machine
number of the recipient before July 9, 2005; and

(111) the unsolicited advertisement contains a notice meeting the requirements under
paragraph (2)(D), except that the exception under clauses (1) and (11) shall not apply with
respect to an unsolicited advertisement sent to a telephone facsimile machine by a sender to
whom a request has been made not to send future unsolicited advertisements to such
telephone facsimile machine that complies with the requirements under paragraph (2)(E).

47 U.S.C. § 227(b)(1)(C). The statute defines “unsolicited advertisement” as “any material advertising the
commercial availability or quality of any property, goods, or services which is transmitted to any person
without that person's prior express invitation or permission, in writing or otherwise.” Jd. § 227(a)(5). Here,
Plaintiff attempts to meet either Rule 23(b)(2) and Rule 23(b)(3). Dkt. 41-1, p. 6. However, Plaintiffs’
motion for class certification fails on both grounds.

A. No Class Certification under Rule 23(b)(2)

Rule 23(b)(2) provides for certification where “the party opposing the class has acted or refused to
act on grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory
relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). Plaintiffs' attempt to certify
the class under Rule 23(b)(2) fails because the TCPA provides for individualized monetary damages to
class members. “Rule 23(b)(2) does not authorize class certification when each class member would be
entitled to an individualized award of monetary damages.” Dukes, 131 S.Ct. at 2557.

In True Health Chiropractic Inc. v. McKesson Corporation, 2016 WL 8925144 (N.D. Cal. Aug.
22, 2016), the Court held that plaintiffs attempt to certify a class under Rule 23(b)(2) must fail when each
individual class member could receive an individualized, monetary award. Jd.” Here, Plaintiffs explicitly
seek individualized monetary I relief in the complaint. Dkt. 1, P. 15. Thus, under Dukes, Rule 23(b)(2)
certification is impermissible.”

 

' The Ninth Circuit has affirmed the district court's provisional certification of a Rule 23(b)(2) class under the TCPA in Meyer
vy. Portfolio Recovery Associates, LLC, 707 F.3d 1036 (9th Cir. 2012); however, the class certification was only viable under the
TCPA because the Plaintiffs sought injunctive relief and no monetary damages.

? Several other district courts have considered Dukes in the context of a TCPA claim and held that individual, monetary awards
foreclose the certification of a 23(b)(2) class. See Connelly v. Hilton Grand Vacations Co., LLC, 294 F.R.D. 574, 579 (S.D. Cal.
2013) (holding the availability of statutory damages renders “Plaintiffs' TCPA claims .. . ineligible for Rule 23(b)(2)
certification” (citing Dukes, 131 S.Ct. at 2557)): Balschmiter v. TD Auto Fin. LLC, 303 F.R.D. 508, 516 (E.D. Wis. 2014)

 

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CIVIL MINUTES - GENERAL Page 3 of 5
Case 2:16-cv-08085-SVW-MRW_ Document 47 Filed 12/22/17 Page 4of5 Page ID #:559

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Case No. 2:16-cv-08085-SVW-MRW Date December 22, 2017

 

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Given that each plaintiff is independently entitled to statutory damages under the TCPA, and that
Plaintiffs expressly seek “actual monetary loss from such violations or the sum of five hundred dollars
($500.00) for each violation,” the Court finds certification under Rule 23(b)(2) impermissible.

B. No Class Certification under Rule 23(b)(3)

Rule 23(b)(3) requires a showing that “questions of law or fact common to class members
predominate over any questions affecting only individual members.” Amgen, Inc. v. Connecticut Ret.
Plans & Tr. Funds, 133 S.Ct. 1184, 1209-10 (2013). The predominance inquiry “tests whether [the]
proposed classes are sufficiently cohesive to warrant adjudication by representation” and “trains on the
legal or factual questions that qualify each class member's case as a genuine controversy.” Amchem
Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997). Predominance “focuses on the relationship between the
common and individual issues” of the class. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir.
1998); see also Simon v. Healthways, Inc., 2015 WL 10015953, at *4 (C.D. Cal. Dec. 17, 2015).

Here, Plaintiff proposes three common questions in the case that that she claims would
predominate over any perceived individualized issues: (1) whether TMA’s acquisition of the contact list
from Stack Creations is sufficient to constitute prior express permission or invitation; (2) whether TMA’s
failure to include any opt-out language somehow meets the statutory requirements regarding opt-out
notices; and (3) whether TMA’s violations were willful. Dkt. 41-1.

The Court finds that Plaintiff cannot establish predominance because individual issues regarding
prior express permission predominate over any common issues of fact, including the common issues
provided by the Plaintiff. See Vandervort v. Balboa Capital Corp., 287 ERD. 554, 562 (C.D. Cal. 2012)
(finding predominance is satisfied in the TCPA context only if the inquiry is limited to the opt-out notice
on the faxes and trial does not require determining whether each class member). Here, Defendant entered
into an agreement with Stack Creations to purchase the contact list, which Defendant contends was an
opt-in and permission-based list containing the complete business information of 490,000 physicians,
23,100 veterinarians, and 28,400 chiropractors. According to Plaintiff, the contact list at issue contained
seven entries with Plaintiff's fax number, one entry naming her specifically and six entries for a person
named Paul Weber, the prior owner of Plaintiffs chiropractor practice. Dkt. 41-1, p.11. Plaintiff does not
provide any evidence to suggest that Paul Weber did not opt-in prior to Plaintiff purchasing the practice.
Nor does Plaintiff allege any facts that any of the other “490,000 physicians, 23,100 veterinarians, and
28,400 chiropractors” did not give express permission to have their fax numbers included on the list.

 

(“[P]ermitting certification under Rule 23(b)(2) in TCPA cases would impermissibly allow the monetary tail to wag[ ] the
injunction dog.” (citing Dukes, 131 S.Ct. at 2557)); Abdeljalil v. Gen. Elec. Capital Corp., 306 F.R.D. 303 (S.D. Cal. 2015)
(same).

 

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CIVIL MINUTES - GENERAL Page 4 of 5
Case 2:16-cv-08085-SVW-MRW Document 47 Filed 12/22/17 Page5of5 Page ID #:560

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:16-cv-08085-SVW-MRW Date December 22, 2017

 

Title Jennifer Botelho v. Technological Medical Advancements LLC

 

Plaintiff provides this Court with no declarations from any other physicians, veterinarians, or
chiropractors to support its argument.

The question of prior express permission is unique to each Plaintiff and the Court would have to
make detailed factual inquiries regarding whether each fax recipient granted prior express permission.

Certification under 23(b)(3) is not feasible as the individual question—not the common
questions--predominate.

IV. CONCLUSION

The Court DENIES Plaintiffs motion for class certification without prejudice.

 

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CIVIL MINUTES - GENERAL Page 5 of 5
